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                   323 FIFTH STREET                                                                                                 (800) 603-0836
                   EUREKA CA 95501                                                                           Para Español, Ext. 2660, 2643 o 2772
                                                                                                                 8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                                         Main Office NMLS #5985
                                                                                                                       Branch Office NMLS #9785




               FERRA SAMUELS
               828 N COTTONWOOD ST
               GARDNER KS 66030



Analysis Date: March 17, 2021                                                                                                                            Final
Property Address: 828 NORTH COTTONWOOD STREET GARDNER, KS 66030                                                                        Loan:
                                    Annual Escrow Account Disclosure Statement
                                                 Account History

      This is a statement of actual activity in your escrow account from July 2020 to Apr 2021. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information                   Current:     Effective May 01, 2021:                   Escrow Balance Calculation
 Principal & Interest Pmt:                  883.18                 883.18                    Due Date:                                       Mar 01, 2021
 Escrow Payment:                             479.01                622.52                    Escrow Balance:                                     (393.83)
 Other Funds Payment:                          0.00                   0.00                   Anticipated Pmts to Escrow:                          958.02
 Assistance Payment (-):                       0.00                   0.00                   Anticipated Pmts from Escrow (-):                      0.00
 Reserve Acct Payment:                         0.00                   0.00                   Anticipated Escrow Balance:                          $564.19
  Total Payment:                            $1,362.19                  $1,505.70


                      Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date           Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                                  Starting Balance                    0.00          32.24
      Jul 2020                          479.01                               *                                        0.00         511.25
      Jul 2020                          479.01                               *                                        0.00         990.26
      Aug 2020                          479.01                               *                                        0.00       1,469.27
      Sep 2020                          479.01                               *                                        0.00       1,948.28
      Sep 2020                           37.86                               * Escrow Only Payment                    0.00       1,986.14
      Nov 2020                          479.01                               *                                        0.00       2,465.15
      Dec 2020                          479.01                               *                                        0.00       2,944.16
      Dec 2020                                                      1,876.02 * County Tax                             0.00       1,068.14
      Jan 2021                          479.01                               *                                        0.00       1,547.15
      Feb 2021                                                      2,899.00 * Homeowners Policy                      0.00      (1,351.85)
      Mar 2021                          958.02                               *                                        0.00        (393.83)
                                                                               Anticipated Transactions               0.00        (393.83)
      Mar 2021                      479.01                                                                                          85.18
      Apr 2021                      479.01                                                                                         564.19
                           $0.00 $5,306.97               $0.00     $4,775.02

      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
      our toll-free number.


      Last year, we anticipated that payments from your account would be made during this period equaling 0.00. Under
      Federal law, your lowest monthly balance should not have exceeded 0.00 or 1/6 of the anticipated payment from the
      account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
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                                                                                                                                             Page 1
silent on this issue.




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Analysis Date: March 17, 2021                                                                                                                     Final
Borrower: FERRA SAMUELS                                                                                                             Loan:
                                                Annual Escrow Account Disclosure Statement
                                                       Projections for Coming Year

      This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
      from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                               564.19        2,350.27
      May 2021              548.10        1,802.17            County Tax                                    (689.88)       1,096.20
      Jun 2021              548.10                                                                          (141.78)       1,644.30
      Jul 2021              548.10                                                                           406.32        2,192.40
      Aug 2021              548.10                                                                           954.42        2,740.50
      Sep 2021              548.10                                                                         1,502.52        3,288.60
      Oct 2021              548.10                                                                         2,050.62        3,836.70
      Nov 2021              548.10                                                                         2,598.72        4,384.80
      Dec 2021              548.10        1,876.02            County Tax                                   1,270.80        3,056.88
      Jan 2022              548.10                                                                         1,818.90        3,604.98
      Feb 2022              548.10                                                                         2,367.00        4,153.08
      Mar 2022              548.10        2,899.00            Homeowners Policy                               16.10        1,802.18
      Apr 2022              548.10                                                                           564.20        2,350.28
                         $6,577.20       $6,577.19

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
      Your escrow balance contains a cushion of 1,096.20. A cushion is an additional amount of funds held in your escrow
      balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
      Federal law, your lowest monthly balance should not exceed 1,096.20 or 1/6 of the anticipated payment from the account,
      unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
      this issue.

      Your ending balance from the last month of the account history (escrow balance anticipated) is 564.19. Your starting
      balance (escrow balance required) according to this analysis should be $2,350.27. This means you have a shortage of 1,786.08.
      This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
      deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 24
      months.

      We anticipate the total of your coming year bills to be 6,577.19. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




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Analysis Date: March 17, 2021                                                                                                          Final
Borrower: FERRA SAMUELS                                                                                                  Loan:

                                                                   Paying the shortage: If your shortage is paid in full, your new
      New Escrow Payment Calculation
                                                                   monthly payment will be $1,431.28 (calculated by subtracting the
      Unadjusted Escrow Payment                      548.10
                                                                   Shortage Amount to the left and rounding, if applicable). Paying the
      Surplus Amount:                                  0.00
                                                                   shortage does not guarantee that your payment will remain the same, as
      Shortage Amount:                                74.42
                                                                   your tax or insurance bills may have changed. If you would like to pay
      Rounding Adjustment Amount:                      0.00
                                                                   the shortage now, please pay the entire amount of the shortage before
      Escrow Payment:                               $622.52
                                                                   the effective date of your new payment. To ensure that the funds are
                                                                   posted to your account correctly, please notify your asset manager that
                                                                   you are paying the shortage.

     NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
     premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
     the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
     payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
     Street, Eureka, Ca 95501 or 800-603-0836.

  * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
  updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
  or return in the self-addressed envelope.




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                           UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF KANSAS
                                   TOPEKA DIVISION

 In Re:                                            Case No. 18-41608

 William Edward Samuels
                                                   Chapter 13
 Ferra Lynn Samuels

 Debtors.                                          Chief Judge Dale L. Somers

                                  CERTIFICATE OF SERVICE

I certify that on April 9, 2021, a copy of the foregoing Notice of Mortgage Payment Change was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s ECF System. Party/Parties may access this filing through the Court’s system:

          Adam M. Mack, Debtors’ Counsel
          igotnotices.kansasjustice@gmail.com

          Jan Hamilton, Chapter 13 Trustee
          bdms@topeka13trustee.com

          Office of the United States Trustee
          ustpregion20.wi.ecf@usdoj.gov

I further certify that on April 9, 2021, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          William Edward Samuel, Debtor
          828 N. Cottonwood
          Gardner, KS 66030




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      Ferra Lynn Samuels, Debtor
      828 N. Cottonwood
      Gardner, KS 66030

Dated: April 9, 2021                       /s/ D. Anthony Sottile
                                           D. Anthony Sottile
                                           Authorized Agent for Creditor
                                           Sottile & Barile, LLC
                                           394 Wards Corner Road, Suite 180
                                           Loveland, OH 45140
                                           Phone: 513.444.4100
                                           Email: bankruptcy@sottileandbarile.com




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